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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                               4:12CR3114
      vs.
                                                     MEMORANDUM AND ORDER
WILLIAM WHITEHOUSE
                      Defendant.



       The defendant, William Whitehouse, has requested a change of plea hearing, and
consents to having the hearing conducted before the undersigned magistrate judge.

       Accordingly,

       IT IS ORDERED:

       1)     The defendant’s request to set a change of plea hearing is granted. This case,
              insofar as it concerns this defendant, is removed from the trial docket based
              upon the request of the defendant.

       2)     A hearing on the defendant’s anticipated plea of guilty is scheduled before
              Magistrate Judge Zwart on June 6, 2013, at 2:00 p.m., in Courtroom No. 2,
              United States Courthouse and Federal Building, 100 Centennial Mall North,
              Lincoln, Nebraska.

       3)     The defendant, defendant’s counsel, and counsel for the government shall
              appear at this hearing.

       4)     On or before the date set for the plea proceeding, counsel for the government
              and for the defendant shall provide to the assigned probation officer their
              respective versions of the offense for purposes of preparing the presentence
              investigation report.

       5)     The ends of justice served by granting defendant’s request to set a change of
              plea hearing outweigh the interests of the public and the defendant in a speedy
              trial, and the time between today’s date and the district court judge's
              acceptance or rejection of the anticipated plea of guilty shall be deemed
              excluded in any computation of time under the requirements of the Speedy
              Trial Act because the failure to grant additional time might result in a
              miscarriage of justice. 18 U.S.C. § 3161(h)(7).
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    May 20, 2013.




                                        BY THE COURT:
                                        s/ Cheryl R. Zwart
                                        United States Magistrate Judge




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